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                                   UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS




ENERRA CORPORATION,                                     §
           Plaintiff                                    §
                                                        §
                                                        §
                      v.                                §     Case No. 3:23-cv-00194-L
                                                        §
                                                        §
CONTI GROUP, LLC, et al.                                §
            Defendant                                   §


                           APPLICATION FOR ADMISSION PRO HAC VICE
                            (Complete all questions; indicate “N/A” if necessary.)

I.        Applicant is an attorney and a member of the law firm of (or practices under the name of)

Stradling Yocca Carlson & Rauth, A Professional Corporation                                   , with offices at

660 Newport Center Drive, Suite 1600
(Street Address)

Newport Beach                                                 CA                     92660
(City)                                                       (State)                 (Zip Code)

 949-725-4153                                                 949-725-4100
(Telephone No.)                                               (Fax No.)




II.       Applicant will sign all filings with the name Ahmad Takouche                                        .


III.      Applicant has been retained personally or as a member of the above-named firm by:
                                          (List All Parties Represented)

Enerra Corporation




to provide legal representation in connection with the above-styled matter now pending before the United
States District Court for the Northern District of Texas.
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IV.      Applicant is a member in good standing of the bar of the highest court of the state of
                                                                                                      For Court Use Only.
                                                                                                      Bar StatusVerified:
                     California                      , where Applicant regularly practices law.       _______________


                    322911
Bar license number:_______________                          December 2, 2018
                                            Admission date:____________________________

Attach to this application an original certificate of good standing issued within the past 90 days from the
attorney licensing authority in a state in which you are admitted to practice (e.g., State Bar of Texas).


V.       Applicant has also been admitted to practice before the following courts:

Court:                                    Admission Date:                            Active or Inactive:

USDC Central District of California       September 6, 2019                          Active

USDC Northern District of California      September 10, 2019                         Active

USDC Southern District of California      November 8, 2019                           Active




VI.    Applicant has never involuntarily lost, temporarily or permanently, the right to practice before
any court or tribunal, or resigned in lieu of discipline, except as provided below:
N/A




VII.     Applicant has never been subject to grievance proceedings or involuntary removal proceedings—
regardless of outcome—while a member of the bar of any state or federal court or tribunal that requires
admission to practice, except as provided below:
N/A




VIII.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses, except
as provided below (omit minor traffic offenses):
N/A
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             IX.        Applicant has filed for pro hac vice admission in the United States District Court for the
             Northern District of Texas during the past three (3) years in the following matters:

             Date of Application:                         Case No. And Style:

              N/A




                                                  (If necessary, attach statement of additional applications.)


             X.         Local counsel of record associated with Applicant in this matter is

              Bradley Liddle and Scott Breedlove of Carter Arnett PLLC                                                              , who has offices at

              8150 N. Central Expressway, Suite 500
             (Street Address)

              Dallas                                                                        Texas                            75206
             (City)                                                                        (State)                           (Zip Code)


             214-550-8188                                                                   214-550-8185
             (Telephone No.)                                                                (Facsimile No.)



             XI.        Check the appropriate box below.
                        For Application in a Civil Case

                         ✔          Applicant has read Dondi Properties Corp. v. Commerce Savs. & Loan Ass’n, 121
                                    F.R.D.284 (N.D. Tex. 1988) (en banc), and the local civil rules of this court and will
                                    comply with the standards of practice adopted in Dondi and with the local civil rules.
                        For Application in a Criminal Case
                                    Applicant has read and will comply with the local criminal rules of this court.


             XII.       Applicant respectfully requests to be admitted to practice in the United States District Court for
             the Northern District of Texas for this cause only. Applicant certifies that a true and correct copy of this
             document has been served upon each attorney of record and the original upon the clerk of court,
             accompanied by a $ filing fee, on this the                     16th day of May                                            , 2023           .



                                                                                            Ahmad Takouche
                                                                                            Printed Name of Applicant

                                                                                             V$KPDG7DNRXFKH
                                                                                            Signature
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